      Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 1 of 19


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF NEW YORK

                       HONORABLE GLENN T. SUDDABY

                  UNIFORM PRETRIAL SCHEDULING ORDER

JOHN K. LUCE, II

                                              Civil No. 1:21-CV-0718 (GTS/DJS)

vs.

YRC INC., ET AL.

      Counsel for all parties having reported on the status of this action as directed
by the Court, and the Court having considered the positions of the respective
counsel regarding a schedule for the progression of the case,

      IT IS ORDERED that:

(1) THE DEADLINES SET IN THIS SCHEDULING ORDER SUPERSEDE THE
DEADLINES SET FORTH IN FED. R. CIV. P.26(a)(3) AND ARE FIRM AND WILL
NOT BE EXTENDED, EVEN BY STIPULATION OF THE PARTIES, ABSENT
GOOD CAUSE. See Fed. R. Civ. P. 16(b).

(2)  VENUE MOTIONS are to be filed within sixty (60) days of the date of this
Order following the procedures set forth in Local Rule 7.1 (a)(2) and are to be
made returnable before the assigned Magistrate Judge.

(3)    JURISDICTION MOTIONS are to be filed within sixty (60) days of the date
of this Order following the procedures set forth in Local Rule 7.1 (a)(1) (unless a
party who is not an attorney is appearing pro se, in which case L.R. 7.1 (b)(2)
should be followed) and are to be made returnable before Judge Suddaby.

(4)   JOINDER OF PARTIES: Any motion to join any person as a party to this
action shall be made on or before September 30, 2021.

(5)   AMENDMENT OF PLEADINGS: Any motion to amend any pleading in this
action shall be made on or before September 30, 2021.

(6)   STATUS REPORT: The parties are directed to file a status report on or
before October 25, 2021.



                                          1
      Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 2 of 19


(7)   DISCOVERY:

      Rule 26(a)(1) Mandatory Disclosures are to be exchanged by
      August 10, 2021.

      All discovery in this matter is to be completed on or before October 3, 2022.
      Service of discovery requests must be made a sufficient number of days
      before this deadline to allow responses to be served before the cut-off.
      Please refer to Local Rule 16.2 (Discovery Cut-Off).

      Special procedures for management of expert witnesses:

      There shall be binding disclosure of the identity of expert witnesses
      (including a curriculum vitae) as set forth below.

      (A) Expert Reports: With regard to experts who are retained or specially
      employed to provide expert testimony in the case or whose duties as an
      employee of the party regularly involve giving expert testimony:

            (i)   No later than July 5, 2022, 90 days prior to the discovery
            deadline set in Paragraph (7) above, plaintiff(s) shall identify any
            expert(s) and, unless waived, shall serve on the other parties the
            expert's written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

            Note: When a treating physician is expected to be called as a witness,
            he or she must also be identified in accordance with this rule. The
            production of written reports prepared by a treating physician,
            pursuant to Fed. R. Civ. P. 26(a)(2)(B), is encouraged as an aid to
            settlement, but not required. In the case of any treating professional
            or other expert witness not required by the court's rules to provide a
            written report, the party anticipating calling the witness must also
            disclose at least 90 days prior to the close of discovery, the subject
            matter on which the witness is expected to present evidence under
            Federal Rule of Evidence 702, 703, or 705 and a summary of the facts
            and opinions to which the witness is expected to testify, pursuant to
            Fed. R. Civ. P. 26(a)(2)(C).

            (ii)  No later than August 19, 2022, 45 days prior to the discovery
            deadline set in Paragraph (7) above, defendant(s) shall identify any
            expert(s) and, unless waived, shall serve on the other parties the
            expert's written report pursuant to Fed. R. Civ. P. 26(a)(2)(B).

            (iii) No later than September 5, 2022, 30 days prior to the
            discovery deadline set in Paragraph (7) above, all parties must
            identify all experts who will contradict or rebut evidence on the same
            subject matter identified by another party under Subparagraphs
                                        2
     Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 3 of 19


           7(A)(i) and (ii) above, and unless waived, shall serve on the other
           parties such expert's written report pursuant to Fed. R. Civ. P.
           26(a)(2)(B).

           (iv) No deposition of experts shall be taken until after the
           exchange of the expert reports, UNLESS THE PARTIES AGREE.

           (v)   Motions to preclude expert witness testimony must be filed and
           served on or before the motion deadline as set forth in Paragraph (8)
           below.

     (B) Failure to comply: The failure to comply with the deadlines set forth
     in Subparagraph (A) above may result in the imposition of sanctions,
     including the preclusion of testimony, pursuant to Fed. R. Civ. P. 16(f).

     (C) Unavailability of Expert Witness: In order to avoid the possibility of
     the unavailability of an expert witness at the time set for trial, counsel may
     preserve the testimony of such witness as outlined in Paragraph (13)(D)(ii)
     below for use at trial. In the absence of same, the trial will proceed without
     such testimony.

(8)   MOTIONS: Other than those made under Paragraphs (2) and (3) above,
motions are to be filed on or before December 5, 2022.

     Note: If no dispositive motion(s) are filed, the motion filing deadline
     becomes the Trial Ready Date. (See Trial Ready Date at Paragraph (9)(A)
     below.)

     (A) Non-Dispositive Motions: Non-dispositive motions (except venue
     motions-paragraph (2) above-and motions for injunctive relief) shall NOT be
     filed until after a conference with the Magistrate Judge, which is to be
     arranged through the Courtroom Deputy Clerk assigned to the Magistrate
     Judge. Before requesting such a conference to resolve discovery disputes,
     the parties must have complied with Local Rule 37.1.

     Non-dispositive motions, including discovery motions, shall be filed in
     accordance with Local Rule 7.1 (a)(2) and, except for motions for injunctive
     relief, shall be made returnable before the assigned Magistrate Judge.
     Motions for injunctive relief shall be made returnable before Judge Suddaby,
     unless the case has been referred to a Magistrate Judge pursuant to 28
     U.S.C. § 636(c) ("consent" jurisdiction).

     (B) Dispositive Motions:         Dispositive motions shall be filed in
     accordance with Local Rule 7.1(a) and shall be made returnable before
     Judge Suddaby, unless the case has been assigned to a Magistrate Judge
     on consent of the parties pursuant to 28 U.S.C. § 636(c).
                                        3
      Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 4 of 19



(9)   TRIAL DATES:

      (A)    TRIAL READY DATE

             (i)    When no dispositive motion is filed, the motion filing
             deadline becomes the trial ready date. The Court will issue a notice
             scheduling a Final Pretrial Conference and Trial Date. Counsel may
             contact Judge Suddaby's Courtroom Clerk, at any time, to request that
             a settlement conference or trial date be scheduled.

             (ii)   When a dispositive motion is filed and the motion filing
             deadline has expired, the case is marked trial ready upon issuance
             of the motion. Judge Suddaby's Courtroom Clerk will contact counsel
             after issuance of the Court's decision on the motion to schedule a
             pretrial conference. Any request for an extension of the Rule 16
             Uniform Pretrial Order deadline(s) will be addressed by Judge
             Suddaby at the time of the conference.

             (iii) When a dispositive motion is filed and the motion filing
             deadline HAS NOT expired, the case will continue on the pretrial
             schedule previously set in the Rule 16 Uniform Pretrial Scheduling
             Order. Any request for an extension of the Rule 16 Uniform Pretrial
             Order deadline(s) should be addressed by the assigned Magistrate
             Judge.

      (B)    TRIAL DATE: It is anticipated that the trial will take approximately
             5 days to complete. This is a JURY trial. The parties request that the
             trial be held in Albany, NY.

             Note: The unavailability of any witness, expert or otherwise, will not
             be grounds for a continuance. To avoid a trial going forward without
             the testimony of an unavailable witness, counsel shall preserve the
             appropriate testimony, for trial, by written or video-taped deposition.

(10) Consent to Magistrate Judge: In accordance with the provisions of 28
U.S.C. §636(c) and Fed. R. Civ. P. 73, you are notified that a United States
Magistrate Judge of this District Court is available to conduct any or all proceedings
in this case including a jury or non-jury trial, and to order the entry of a final
judgment. Exercise of this jurisdiction by a Magistrate Judge is only permitted if
all parties voluntarily consent. An appeal from a judgment entered by a Magistrate
Judge shall be taken directly to the United States Court of Appeals for the judicial
circuit in the same manner as an appeal from any other judgment of this District
Court. A consent form to the Magistrate Judge is attached to this order.


                                          4
      Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 5 of 19


(11) Settlement Conference: A settlement conference may be scheduled at the
Court's direction or by the request of counsel AT ANY TIME. In addition to counsel,
a representative of each party with settlement authority must personally attend
the settlement conference, unless prior permission is granted by the Court to
attend via telephone or video conference. A pretrial/settlement conference
statement form is attached and must be submitted to the Courtroom Clerk's
attention one week prior to the scheduled conference by email at
NYND_GTS_ECF_NOTICES@nynd.uscourts.gov. Counsel are directed NOT to
serve the settlement statement on opposing counsel.

(12) Assessment of Juror Costs: The parties are advised that pursuant to
Local Rule 47.3, whenever any civil action scheduled for a jury trial is postponed,
settled, or otherwise disposed of in advance of the actual trial, then, except for
good cause shown, all juror costs, including Marshal's fees, mileage, and per diem,
shall be assessed against the parties and/or their counsel as directed by the Court,
unless the Court and the Clerk's Office are notified at least one full business day
prior to the day on which the action is scheduled for trial in time to advise the jurors
that it will be unnecessary for them to attend.

(13) Pretrial Submissions:

      (A) Non-Jury Trials: One week before the Final Pretrial Conference date
      or on any other date set by the Court, counsel shall electronically file the
      following documents with the Clerk's Office, with a copy served upon
      opposing counsel:

           Joint Pretrial Stipulation (see Subparagraph (C) below);
           Prepared Findings of Fact and Conclusions of Law;
           Witness List (see Subparagraph (D)(i) below);
           Exhibit Lists (see Subparagraph (E)(i) below);
           Trial Brief concerning evidentiary issues (see Subparagraph (H)
            below);
           All deposition transcripts in dispute (including video-taped
            depositions) to be used at trial (see Subparagraph (G) below); and
           Motions in Limine (see Subparagraph (F) below).

      (B) Jury Trials: One week before the Final Pretrial Conference Date or
      on any other date set by the Court, counsel shall electronically file the
      following documents with the Clerk's Office, with a copy served upon
      opposing counsel:

             Joint Pretrial Stipulation (see Subparagraph (C) below);
             Court Ordered Voir Dire (see Attachment #1);
             Proposed Voir Dire;
             Witness Lists (see Subparagraph (D)(i) below);
                                           5
Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 6 of 19


       Exhibit Lists (see Subparagraph (E)(i) below);
       Trial Brief (see Subparagraph (H) below);
       Requests to Charge, including proposed Special Verdict Form (see
        Subparagraph (I) below);
       All deposition transcripts in dispute (including video-taped
        depositions) to be used at trial (see Subparagraph (G) below); and
       Motions in Limine (see Subparagraph (F) below).

(C) Joint Pretrial Stipulations: A joint pretrial stipulation subscribed by
counsel for all parties shall be electronically filed with the Clerk's Office and
shall contain:
       (i)    The basis of federal jurisdiction;
       (ii)   A list of all exhibits which can be stipulated into evidence or that
       will be offered without objection as to foundation; and
       (iii) Relevant (1) facts not in dispute, (2) facts in dispute, and (3)
       issues of law to be considered and applied by the Court.

(D)     Witnesses:

        (i)     One week before the Final Pretrial Conference date, or on any
        other date set by the Court, counsel shall electronically file with the
        Clerk's Office, with a copy to opposing counsel, the following
        information regarding the witnesses that may be called to testify at
        trial other than solely for impeachment purposes.

              (a)   The name and address (city and state) of each witness,
              separately identifying those whom the party expects to present
              and those whom the party may call if the need arises, as well
              as a brief summary of the testimony to be offered by each
              witness.

              (b) The designation of those witnesses whose testimony is
              expected to be presented by means of a deposition (including
              video-taped deposition), specifically identifying the pertinent
              portions of the deposition testimony to be offered.

        (ii)    The unavailability of any witness, expert, or otherwise, will
        not be grounds for a continuance. In order to avoid the possibility
        of going forward with the trial without testimony of an unavailable
        witness, counsel, where appropriate, shall preserve same before the
        trial date by written or video-taped deposition for possible use at trial.

(E)     Exhibits:

        (i)    Exhibit Lists: Counsel shall electronically file with the Clerk's
        Office, with a copy to opposing counsel, an exhibit list on the form
                                     6
Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 7 of 19


      prescribed by the Court, a copy of which is attached to this Order.
      Counsel are to supply the exhibit number and exhibit description. The
      remaining boxes shall be left blank for the Courtroom Deputy.

      (ii)   All documents and/or papers intended as exhibits or to be used
      during the course of trial, including but not limited to, documents,
      photographs, charts, diagrams, etc., shall be marked for identification
      in the manner prescribed below and must be assembled in BINDERS
      with each document properly marked at the lower right corner for
      identification purposes as directed below. Counsel shall provide a
      separate binder with a complete set of exhibits for the Clerk and for
      the Court of the first day of trial, and one binder to each opposing
      counsel.

            The exhibits shall have been inspected by the opposing party
      and copied at their expense (unless waived), NO LATER THAN ONE
      WEEK PRIOR TO THE FINAL PRETRIAL CONFERENCE DATE.
      The exhibit binders for the Clerk and for the Court shall be presented
      to Judge Suddaby's Courtroom Deputy at the beginning of trial.

      *NOTE: During the course of trial, the Courtroom Deputy shall
      take charge of exhibits which are received into evidence. At the
      conclusion of the trial, the Courtroom Deputy will immediately
      return all of the exhibits to the proper parties. It is the
      responsibility of the parties to maintain the exhibits and to
      produce the exhibits for any appeal. Videotaped deposition
      transcripts viewed at the trial shall be filed with the Clerk's Office
      and made part of the record and counsel is responsible for
      providing an additional copy of the transcript to the Courtroom
      Deputy.

      (iii) Exhibit Markers: Counsel shall fill in the appropriate markers
      leaving the "Date entered" and "Deputy Clerk" lines blank. All exhibits
      shall be assigned numbers by using a prefix of "P" for plaintiff, "D" for
      defendant, and "G" for Government.

            Plaintiff's exhibits should be denoted as: P-1, P-2, P-3, etc.
            Defendant's exhibits should be denoted as: D-1, D-2, D-3, etc.
            Government's exhibits should be denoted as: G-1, G-2, G-3,
            etc. In cases involving multiple defendants, the exhibits shall be
            denoted with the initial of the last name of the defendant and its
            numerical identification number.

            Stickers shall be affixed whenever possible to the lower right-
            hand corner of the exhibit. If the exhibit marker is going to cover
            any information on the exhibit, then affix the marker to the
                                   7
Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 8 of 19


             reverse side of the exhibit. Each exhibit shall also have an
             exhibit number in the upper right-hand corner of the exhibit. (P-
             1, P-2, etc. or D-1, D-2, etc.).

(F) Motions in Limine: One week before the Final Pretrial Conference
date, or on any other date set by the Court, counsel shall electronically file
with the Clerk's Office, with a copy to opposing counsel, any motions in
limine, citing the applicable rules of evidence and case law. Counsel shall
file an response to a Motion In Limine no later than three days before the
Final Pretrial Conference date.         MOTIONS IN LIMINE MAY NOT
OTHERWISE BE FILED WITHOUT LEAVE OF THE COURT.

(G) Depositions: All depositions and video-taped depositions to be used
at trial shall be brought to court on the day of trial. Not less than four weeks
prior to the trial date, each party shall indicate to the opposing party the
portion of the video deposition to be offered. To the extent possible,
objections are to be resolved between the parties. One week before the
Final Pretrial Conference, counsel shall forward to the Judge's chambers
any portions of a deposition transcript intended to be used in trial that are
in dispute (including video-taped depositions) for ruling at the Final Pretrial
Conference. The parties must provide an edited version of any DVD to
be shown to the jury at trial deleting any portions ruled inadmissible
by the Court. The Court does not have the capability to start and stop a
video during trial to edit certain portions of the DVD. All deposition
transcripts, including videotaped depositions, that are not in dispute shall be
brought to Court on the first day of trial. Counsel shall provide the Court with
an additional copy of the "redacted" transcript of all video deposition
testimony which is put into evidence at trial and shall be made a part of the
record for filing with the Clerk's Office. Counsel must confirm with the
Court that the DVD format is compatible with the Courtroom equipment
prior to the first day of trial.

(H) Trial Briefs: One week before the Final Pretrial Conference date, or
on any other date set by the Court, counsel shall electronically file with the
Clerk's Office, with a copy to opposing counsel, a trial brief containing
argument and citations on any and all disputed issues of law, citing the
applicable rules of evidence and case law. Trial Briefs should also include
any evidentiary issues that are expected to arise.

(I)    Requests to Charge: One week before the Final Pretrial Conference
date, or on any other date set by the Court, counsel shall electronically file
with the Clerk's Office a request to charge and a proposed Special Verdict
Form, with a copy to opposing counsel, and email a copy of same in
WordPerfect or Word format to Judge Suddaby's Courtroom Clerk at
NYND_GTS_ECF_NOTICES@nynd.uscourts.gov. The request to charge
need only include instructions that are specific to the law in this case
                                    8
Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 9 of 19


regarding liability, damages, and any unusual issues. The court has the
usual boilerplate charge.

(J)    Voir Dire: Counsel shall electronically file any proposed Voir Dire
requests. Each party shall submit a numbered list of questions which the
court, in the exercise of its discretion, may use during jury selection, and
counsel shall email a copy of any proposed Voir Dire questions in
WordPerfect or Word format to Judge Suddaby's Courtroom Deputy at
NYND_GTS_ECF_NOTICES@nynd.uscourts.gov.

(K) Court-Ordered Voir Dire: Counsel shall electronically file with the
Clerk's Office the attached "Court-Ordered Voir Dire".

(L) Courtroom Technology: If the parties intend to utilize the courtroom
equipment at the time of trial, counsel are directed to contact the Courtroom
Deputy prior to the trial date to make arrangements for training and testing
such equipment. Please keep in mind that the Court does not provide a
person to run the equipment during trial. The courtroom is supplied with a
DVD unit, visual evidence presenter, VGA connections for laptops (no
internet), and interpreter/hearing impaired headsets. All non-proprietary
DVD's (i.e., .avi, .mp3, .mp4, and .wmv) should be compatible with the
Court's DVD player, however, prior to the trial date, counsel must confirm
such compatibility for use at the time of trial. If any portion of the DVD should
be redacted, it is the responsibility of counsel to provide a redacted copy for
use at trial. Counsel may be required to utilize the visual presenter to publish
exhibits to the jury. The visual evidence presenter will allow counsel to
display documents, photos, objects, x-rays, and electronic presentations on
monitors placed throughout the courtroom and in the jury box with touch
screen monitors at the podium and witness stand. Laptop connections are
available at the podium and at all counsel tables (no internet). Please note
that audio cables are not available and counsel should provide their own, if
necessary. If you are presenting evidence through a Macintosh laptop, a
video convertor/adaptor is required and must be supplied by counsel. In the
event counsel's equipment is not compatible with the courtroom's
equipment, the Court is not responsible for supplying additional electronic
parts to remedy this. One week prior to the trial date counsel may request
that the court reporter provide a live realtime transcript or an end of day
transcript. There is a charge for these services and financial
arrangements should be made ahead of time with the court reporter.
When requesting a live realtime transcript the following is required: 1)
litigation support software, (i.e., LiveNote, Bridge, Caseview); 2) hardware
(i.e., if laptop does not have a serial port, a USB to serial adaptor is required).
Additional courtroom technology information may be obtained on the court's
webpage: www.nynd.uscourts.gov/courtroom-technology.


                                     9
   Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 10 of 19


    (M)   Alternative Dispute Resolution:

          This action has been referred into the Mandatory Mediation Program.
          The Court has discussed with the parties the time frame for
          completion of the Mandatory two-hour mediation session. Mandatory
          Mediation shall be completed by February 23, 2022. The Court will
          issue a separate order referring this case into the Mandatory
          Mediation Program.


SO ORDERED




DATED:    July 27, 2021
          Albany, NY




                                    10
      Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 11 of 19


                            COURT ORDERED VOIR DIRE
                        TO BE USED BY THE JUDGE AT TRIAL

CASE TITLE: JOHN K. LUCE, II vs. YRC INC., ET AL.
CIVIL ACTION NO.: 21-CV-0718
ASSIGNED JUDGE OR MAGISTRATE JUDGE: GLENN T. SUDDABY

                                     ATTACHMENT #(1)

        Each attorney is required to submit the following information on behalf of his/her client
for use by the Court during Voir Dire and must be filed with the Court one week before the Final
Pretrial Conference, or any other date set by the Court.

NAMES AND ADDRESSES OF ALL PARTIES TO THE LAWSUIT:




(use additional page if necessary)

YOUR NAME, FIRM NAME, ADDRESS AND THE NAME OF ANY PARTNER OR
ASSOCIATE WHO MAY BE AT COUNSEL TABLE DURING THE COURSE OF THE TRIAL.




(use additional page if necessary)

SET FORTH THE DATE OF THE OCCURRENCE, THE PLACE OF THE OCCURRENCE AND
A BRIEF STATEMENT OF THE EVENTS CENTRAL TO THE LITIGATION.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL LAY WITNESSES TO BE CALLED.




(use additional page if necessary)

SET FORTH THE NAMES AND ADDRESSES OF ALL EXPERT WITNESSES TO BE
CALLED GIVING A BRIEF DESCRIPTION OF THEIR AREAS OF EXPERTISE.
                                    11
      Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 12 of 19




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY CAUSE OF ACTION IN THE
COMPLAINT.




(use additional page if necessary)

SET FORTH A BRIEF DESCRIPTION OF EACH AND EVERY AFFIRMATIVE DEFENSE
ASSERTED AS WELL AS A STATEMENT ADDRESSING ANY COUNTERCLAIMS RAISED
IN THE ANSWER.




(use additional page if necessary)




PLEASE TAKE NOTICE that any delay in jury selection occasioned by the failure to provide
this information will be explained to the jury as to the extent of the delay and the attorney
causing same and if the delay causes a one (1) day or more postponement of this trial,
appropriate monetary sanctions will be imposed by the Court.



Submitted by: ___________________________________

Date: _______________________




                                               12
    Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 13 of 19


   UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 21-CV-0718                       CASE NO. 21-CV-0718

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK
    UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 21-CV-0718                       CASE NO. 21-CV-0718

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK
    UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 21-CV-0718                       CASE NO. 21-CV-0718

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK
    UNITED STATES DISTRICT COURT              UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK             NORTHERN DISTRICT OF NEW YORK

CASE NO. 21-CV-0718                       CASE NO. 21-CV-0718

PLAINTIFF EXHIBIT NO.                     DEFENDANT EXHIBIT NO.

DATE ENTERED                              DATE ENTERED
      JOHN M. DOMURAD, CLERK                    JOHN M. DOMURAD, CLERK

BY: ______________________________        BY: ______________________________
            DEPUTY CLERK                              DEPUTY CLERK




                                     13
                               Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 14 of 19



                                                                                                             Page 1 of ____
                                                        United States District Court
                                                       Northern District Of New York
Case No: 21-CV-0718
Date: ____________________
Presiding Judge: Glenn T. Suddaby

                             □ Plaintiff                      □ Defendant              □ Court

  Exhibit    Marked for         Admitted Into
                                                  Remarks                Witness       Exhibit Description
   No.      Identification       Evidence




Exhibits Returned to Counsel (Date): _______________

Signature: ______________________________

                                                                    14
                             Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 15 of 19



Case No. 21-CV-0718
                                                                                                           Page _____ of _____


  Exhibit    Marked for      Admitted Into
                                                  Remarks         Witness            Exhibit Description
   No.      Identification    Evidence




Exhibits Returned to Counsel (Date): _______________

Signature: ______________________________


                                                             15
     Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 16 of 19


             PRETRIAL & SETTLEMENT CONFERENCE STATEMENT
                         ( NOT FOR PUBLIC VIEW )
 ** THIS DOCUMENT WILL BE PROVIDED TO THE CLERK AND NOT FILED
                  IN ACCORDANCE WITH L.R. 5.7

CASE NAME: JOHN K. LUCE, II vs. YRC INC., ET AL.

ACTION NO.: 21-CV-0718

ASSIGNED JUDGE: GLENN T. SUDDABY

ASSIGNED MAGISTRATE JUDGE: DANIEL J. STEWART

        Each Attorney is required to submit the following information on behalf of his or her
client in short, concise form, in order to present a brief overview of the facts of the case. This
information will be used by the Court during the scheduled final pretrial/settlement conference
and therefore must be provided to the Court five (5) days in advance of the conference
date.

PARTY/PARTIES REPRESENTED;




(use additional page if necessary)

A BRIEF PERSONAL HISTORY REGARDING YOUR CLIENT(S);




(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS OF THE CASE;




(use additional page if necessary)

A BRIEF STATEMENT OF THE CLAIMS AND DEFENSES, i.e., STATUTORY OR OTHER
GROUNDS UPON WHICH THE CLAIMS ARE FOUND; AND EVALUATION OF THE
PARTIES' LIKELIHOOD OF PREVAILING ON THE CLAIMS AND DEFENSES; AND A


                                                16
     Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 17 of 19


DESCRIPTION OF THE MAJOR ISSUES IN DISPUTE; SET FORTH ANY DEMANDS OR
OFFERS FOR SETTLEMENT




(use additional page if necessary)

A SUMMARY OF THE PROCEEDINGS TO DATE;




(use additional page if necessary)

AN ESTIMATE OF THE COST AND TIME TO BE EXPENDED FOR FURTHER DISCOVERY,
PRETRIAL AND TRIAL;




(use additional page if necessary)

A BRIEF STATEMENT OF THE FACTS AND ISSUES UPON WHICH THE PARTIES
AGREE;




(use additional page if necessary)

ANY DISCREET ISSUES WHICH, IF RESOLVED, WOULD AID IN THE DISPOSITION OF
THE CASE;




(use additional page if necessary)

THE RELIEF SOUGHT;




(use additional page if necessary)



                                        17
     Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 18 of 19


THE PARTIES' POSITION ON SETTLEMENT, INCLUDING PRESENT DEMANDS AND
OFFERS, THE HISTORY OF PAST SETTLEMENT DISCUSSIONS, OFFERS AND
DEMANDS;




(use additional page if necessary)

PREFERRED TRIAL LOCATION, APPROXIMATE LENGTH OF TRIAL, AND WHETHER
TRIAL IS JURY OR NON-JURY;




(use additional page if necessary)

       The Court requires that each party be represented at each pretrial conference by an
attorney who has the authority to bind that party regarding all matters identified by the Court for
discussion at the conference and all reasonably related matters including settlement authority.

     Copies of the settlement statement shall NOT be served upon the other parties. This
document will not be filed and will not be made available for public view.

        Should the case be settled in advance of the pretrial/settlement conference date,
counsel are required to notify the court immediately. Failure to do so could subject counsel for
all parties to sanctions.

Signature of Counsel:       ______________________________

Dated:                      ______________________________




                                                18
                    Case 1:21-cv-00718-GTS-DJS Document 7 Filed 07/27/21 Page 19 of 19



AO 85 (Rev. 01-09) Notice, Consent and Reference of a Civil Action to a Magistrate Judge



                                               UNITED STATES DISTRICT COURT
                                                                           for the

_________________________________________________ District of                          ______________________________________________


__________________________________________________
                      Plaintiff
                        v.                                                                 Civil Action No.

__________________________________________________
                      Defendant


                   NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a Magistrate Judge's availability. A United States Magistrate Judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be
appealed directly to the United States Court of Appeals like any other judgment of this court. A Magistrate Judge may exercise this
authority only if all parties voluntarily consent.

         You may consent to have your case referred to a Magistrate Judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judgment who may otherwise be
involved with your case.

        Consent to a Magistrate Judge's authority. The following parties consent to have a United State Magistrate Judge conduct all
proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

          Parties' printed names                      Signatures of parties or attorneys                      Dates

_______________________________ _______________________________________ _________________________

_______________________________ _______________________________________ _________________________

_______________________________ _______________________________________ _________________________

_______________________________ _______________________________________ _________________________

                                                                     Reference Order

         IT IS ORDERED: This case is referred to a United States Magistrate Judge to conduct all proceedings and order the entry of a
final judgment in accordance with 28 U.S.C. §636(c) and Fed.R.Civ.P.73.


Date:     ___________________________                                             _______________________________________________
                                                                                                District Judge's Signature

                                                                                  _______________________________________________
                                                                                                Printed name and title

Note: Return this form to the clerk of the court only if you are consenting to the exercise of jurisdiction by a United States Magistrate
Judge. Do not return this form to a Judge.




                                                                             19
